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                                           June 9, 2021

VIA ECF
Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square, Courtroom 219
New York, NY 10007

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Netburn:

        We write jointly on behalf of Defendant Ripple Labs, Inc. and Plaintiff Securities and
Exchange Commission pursuant to Your Honor’s Order (ECF No. 218) to provide joint proposed
redactions with respect to ECF Nos. 166, 191, 198, 199 and their respective attachments.

         As an initial matter, there are currently two motions to seal certain legal memoranda
pending before Judge Torres (ECF Nos. 104 and 170). Judge Torres’s decision with respect to
sealing those memoranda may provide further guidance and may resolve any applicable disputes
as to the appropriate level of redactions or sealing for several of the documents at issue here:
ECF Nos. 166-1, 166-2, 166-4, 166-5, 191, 191-8, 198-3, 198-4, and 198-9. To avoid
unnecessary burdens on the Court, the parties jointly request that this Court provisionally
authorize the sealing of ECF Nos. 166-1, 166-2, and 191-8 in their entirety and the redactions of
ECF Nos. 166-4, 166-5, 191, 198-3, 198-4, and 198-9 as indicated in the exhibits accompanying
this letter, pending the resolution of those earlier motions, at which time the parties will meet and
confer to determine whether any disputes exist as to whether the documents should remain under
seal or the appropriate level of redactions to apply.

        With respect to the materials filed at ECF No. 166 and its attachments, the parties have
agreed that ECF Nos. 166-9 and 166-10 should remain fully sealed, for the reasons previously
stated in their submissions to the Court concerning these documents (see ECF No. 176 at 2, ECF
No. 206 at 1). For the letter-motion and remaining exhibits (ECF No. 166, ECF Nos. 166-3
through -8, ECF No. 166-11, and ECF No. 166-12), the parties have agreed that the proper scope
of redactions is reflected in Exhibits 1 through 9 to this letter.

        With respect to the materials filed at ECF Nos. 191, 198, and 199, the parties have agreed
that the proper scope of redactions is reflected in Exhibits 10 through 29 to this letter.

       For the Court’s reference, the docket numbers of the documents filed at ECF Nos. 166,
191, 198, and 199 correspond to the exhibits attached to this letter as follows:
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                       ECF No.        Exhibit Containing
                                     Proposed Redactions
                          166                   1
                         166-1       N/A (sealed in entirety)
                         166-2       N/A (sealed in entirety)
                         166-3                  2
                         166-4                  3
                         166-5                  4
                         166-6                  5
                         166-7                  6
                         166-8                  7
                         166-9       N/A (sealed in entirety)
                        166-10       N/A (sealed in entirety)
                        166-11                  8
                        166-12                  9
                          191                  10
                         191-1                 11
                         191-2                 12
                         191-3                 13
                         191-4                 14
                         191-5                 15
                         191-6       N/A (sealed in entirety)
                         191-7       N/A (sealed in entirety)
                         191-8       N/A (sealed in entirety)
                          198                  16
                         198-1                 17
                         198-2       N/A (sealed in entirety)
                         198-3                 18
                         198-4                 19
                         198-5       N/A (sealed in entirety)
                         198-6                 20
                         198-7       N/A (sealed in entirety)
                         198-8                 21
                         198-9                 22
                        198-10                 23
                        198-11                 24
                        198-12                 25
                        198-13                 26
                        198-14                 27
                        198-15                 28
                          199                  29
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        The parties agree that these proposed redactions provide an appropriate degree of public
access to these particular court records while adequately safeguarding the parties’ and third
parties’ needs for confidentiality at this stage of the proceedings. The parties do not understand
the Court’s Order (ECF No. 218) to request additional argument in this submission concerning
the justifications for sealing beyond what the parties have already submitted (e.g., ECF Nos. 176,
206), but are prepared to supply additional briefing on that issue should the Court request it. The
parties reserve all rights, including with respect to whether different levels of redactions may be
appropriate at later stages of the litigation (such as summary judgment or trial) or for other
documents not addressed in this letter.

       We thank the Court for its attention to this matter.
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Respectfully submitted,

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cc: All counsel (via ECF)
